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                                    APPENDIX A

Ex.    Description
 1.    Defendants’ Opposition to Plaintiffs’ Motion to Quash the Subpoena Served on
       AT&T Mobility (S.D. Fla. Docket 18-mc-23753), ECF No. 7, which was filed under
       seal
 2.    Excerpts of the September 16, 2016 Hearing Transcript in this action.
 3.    Excerpts of Rough Transcript from the Deposition of Ryan Zimmerman, dated
       October 11, 2018
 4.    Plaintiffs Ryan W. Zimmerman and Ryan J. Howard’s Responses and Objections to
       Defendants’ First Set of Interrogatories, dated November 14, 2017.
 5.    Plaintiffs Ryan W. Zimmerman and Ryan J. Howard’s Supplemental Responses and
       Objections to Defendants’ First and Second Set of Interrogatories, dated April 20,
       2018.
 6.    Plaintiffs Ryan W. Zimmerman and Ryan J. Howard’s Responses and Objections to
       Defendants’ Second Set of Interrogatories, dated January 31, 2018.
 7.    Plaintiffs Ryan W. Zimmerman and Ryan J. Howard’s Second Supplemental
       objections and Responses to Defendants’ First Set of Interrogatories, dated August 9,
       2018.
 8.    Plaintiff Ryan W. Zimmerman Interrogatory Verification, dated September 6, 2018.
 9.    Plaintiff Ryan J. Howard’s Objections and Responses to Defendants’ Early Rule 34
       Request for Production, dated September 6, 2017.
 10.   July 31, 2018 Letter from S. Lerner to T. Toweill regarding Plaintiffs’ discovery
       deficiencies.
 11.   Excerpts from the Rough Transcript from the Deposition of Ryan Howard, dated
       October 10, 2018.
 12.   Production Document ZIMMERMAN-0005351
 13.   Production Document HOWARD-0003360
